B2500A (Form 2500A) (12/15)



                                    United States Bankruptcy Court
                                                      District Of     Kansas


In re   Pinnacle Regional Hospital, Inc. et al.   ,           )       Case No.      20-20219
                   Debtor                                     )
James A. Overcash, not individually, but solely as            )       Chapter    7
Chapter 7 Trustee                                             )
                                                              )
                   Plaintiff                                  )
                                                              )
                   v.                                         )       Adv. Proc. No.           22-06013
                                                              )
 Covidien LP,
                                                              )
                   Defendant                                  )


                            SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.

                   Address of the clerk:                Robert J. Dole Courthouse
                                                        500 State Avenue, Rm. 161
                                                        Kansas City, KC 66101


At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
                                                                      Nicholas J. Zluticky
                   Name and Address of Plaintiff's Attorney:          Michael P. Pappas
                                                                      1201 Walnut St., Ste. 2900
                                                                      Kansas City, MO 64106


If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.


                                                         David Zimmerman             (Clerk of the Bankruptcy Court)

         Date: 2/14/2022                               By:     s/Judy R. Cowger            (Deputy Clerk)



                          Case 22-06013           Doc# 4
                                                       3     Filed 02/15/22
                                                                   02/14/22         Page 1 of 2
B2500A (Form 2500A) (12/15)



                                   CERTIFICATE OF SERVICE

       I, Nicholas J. Zluticky           (name), certify that service of this summons and a copy of
the complaint was made February 15, 2022          (date) by:

       q
       X       Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               To: Corporation Service Company, 84 State Street, Boston, MA 02109



       q       Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:



       q       Residence Service: By leaving the process with the following adult at:



       q       Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



       q       Publication: The defendant was served as follows: [Describe briefly]



       q       State Law: The defendant was served pursuant to the laws of the State of                , as
               follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date    2/15/22             Signature   /s/ Nicholas J. Zluticky


               Print Name:                      Nicholas J. Zluticky


               Business Address:                1201 Walnut St., Ste. 2900


                                                Kansas City, MO 64106



                     Case 22-06013        Doc# 4
                                               3      Filed 02/15/22
                                                            02/14/22         Page 2 of 2
